Case 2:05-cr-20119-.]PI\/| Document 14 Filed 05/27/05 Page 1 of 2 Page|D 17

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“'~ , »'3.¢'3,
IN TI-IE UNITED STATES DISTRICT COURT l/;/ `
FOR THE \X/ESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

 

V. CR. N0.05-20119
]udge McCalla
CHRISTOPHER AGEE,
Defendant

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

 

As indicated by the signatures below, the United States, through Stuart Canale, Assistant
United States Attorney, and Kemper B. Durand, counsel for the defendant have agreed that, for
good cause, this case should be continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the ]une, 2005, criminal rotation calendar, but is now
RESET for report at 9:00 a.rn. on Fridav. August 26. 2005. With trial to take place on the Septernber,
2005, rotation calendar With the time excluded under the Speedy Trial Act through Septernber 16,
2005. Agreed in open court at report date this 27']‘ day of May, 2005.

SO ORDERED this 27th day of May, 2005.

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/%\ Q, W G»KLQ¥
]O PHIPPS MCCALLA
U ITED TATES DISTRICT]UDGE

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l Attorney for Christopher Agee

 

 

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UNITED sTATE DISTRIC COUR - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 14 in
case 2:05-CR-201 19 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & l\/HTCHELL
40 S. l\/lain St.

Ste. 2900

l\/lemphis7 TN 38103--552

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

